       Case 2:17-cv-02122-JAR-GEB Document 1 Filed 02/26/17 Page 1 of 9




               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF KANSAS

LEO KHAYET                                         )
                                                   )
       Plaintiff,                                  )
                                                   )     Case No.
                                                   )
DENNIS BOERSEN                                     )
                                                   )
       Individually, and                           )
                                                   )
BOERSEN FARMS, INC.                                )
                                                   )
       and                                         )
                                                   )
BOERSEN FARMS AG, LLC                              )
                                                   )
       and                                         )
                                                   )
BOERSEN AG PARTNERS, LLC                           )
                                                   )
       and                                         )
                                                   )
BOERSEN TRANSPORT, INC.                            )
                                                   )
       Defendants.                                 )



        COMPLAINT FOR PRELIMINARY AND PERMENANT INJUNCTION

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       COMES NOW, Leo Khayet, by and through counsel, and submits his Complaint for

Preliminary and Permanent Injunction against Dennis Boersen, Boersoen Farms, Inc., Boersen

Farms AG, LLC, Boersen AG Partners, LLC, and Boersen Transport, Inc. (hereinafter referred to

as “Defendants”) and respectfully shows the following:




                                              1
       Case 2:17-cv-02122-JAR-GEB Document 1 Filed 02/26/17 Page 2 of 9




                                             I.     PARTIES

1.     Plaintiff Leo Khayet is an individual residing at 13249 High Drive, Leawood, Kansas.

2.     Defendant Dennis Boersen is an individual residing in the State of Michigan.

3.     Defendant Boersen Farms, Inc., is a Michigan corporation with its principal place of

business located in the State of Michigan and a registered office address of 6421 Ransom St.,

Zeeland, Michigan 49464.

4.     Defendant Boersen Farms AG, LLC is a Michigan limited liability company with its

principal place of business located in the State of Michigan and a registered office address of 6421

Ransom St., Zeeland, Michigan 49464.

5.     Defendant Boersen Farms AG Partners, LLC, is a Michigan limited liability company with

its principal place of business located in the State of Michigan and a registered office address of

6421 Ransom St., Zeeland, Michigan 49464.

6.     Defendant Boersen Transport, Inc. is a Michigan corporation with its principal place of

business located in the State of Michigan and a registered office address of 6421 Ransom St.,

Zeeland, Michigan 49464.

                                       II.        JURISDICTION

7.     Jurisdiction and venue are proper in this Court pursuant to the forum selection clause

located in the Parties’ contract, which was fully executed on or about February 3, 2017 (hereinafter

referred to as the “Agreement” and is attached hereto as “Exhibit 1”).

                                III.    NATURE OF THE CASE

8.     This is a breach of contract action. On or about February 3, 2017, Plaintiff entered into the

Agreement with Defendants, the terms of which gave Plaintiff the exclusive right to act as an

exclusive financial advisor for purpose of helping the Defendants secure a refinancing agreement



                                                     2
           Case 2:17-cv-02122-JAR-GEB Document 1 Filed 02/26/17 Page 3 of 9




for the Defendants’ outstanding debt obligations. On or about February 7, 2017, Defendants began

a blatant and ongoing breach of the Agreement by attempting to secure a refinancing agreement

outside of the Parties’ Agreement. This breach has continued to the date of this Complaint and

prompted its necessity.

                                      IV.     FACTUAL BACKGROUND

9.         On or about December 28, 2016, Defendants executed a contract titled “Exclusive

Agreement for Fee” with the other parties being Mike Still, Michael Winemiller, Mahdi Dezham

and Robert Jenevein (hereinafter referred to as “Marketers”), the terms of which stated that

Defendants would pay Marketers Fifty Million Dollars ($50,000,000) in exchange for Marketers

soliciting investors to acquire Defendants’ debt and the Defendants’ debt being successfully

transferred to a third party investor (attached as “Exhibit 2”).

10.        The contract described in Paragraph 9 of this Complaint was subsequently discontinued.

11.        On or about February 3, 2017, Plaintiff entered into the Agreement with Defendants.

12.        The Agreement stated that Plaintiff is engaged by Defendants, “together with their affiliates

and subsidiaries and any entity formed for the purpose of a Transaction” to act as their “exclusive

consultant.”

13.        Specifically, the Agreement defined the engagement, in pertinent part, as: “During the term

of this engagement, and as mutually agreed upon by Consultant1and the Company, Consultant will

provide the Company with Financial advice and assistance in connection with a possible

transaction or series of transactions involving all or a significant portion of the assets, securities or

businesses of the Company and its affiliates and subsidiaries, whither directly or indirectly and

through any transaction form, regarding the Company’s outstanding indebtedness to CHS, Inc. in



1
    The “Consultant” referred to in the Agreement is Plaintiff Leo Khayet.

                                                           3
        Case 2:17-cv-02122-JAR-GEB Document 1 Filed 02/26/17 Page 4 of 9




approximate amount of $250 million [the “Indebtedness”] [any of the foregoing, a “Transaction”].

On the Terms and subject to the conditions of this Agreement and in connection with the review

of strategic alternatives, Consultant will assist the Company in such activities, analysis and

planning as mutually agreed upon by the Company and Consultant, which may include reviewing,

structuring, negotiating with one or more financial institutions in purchasing or restructuring the

Indebtedness and executing the Transaction.” Exhibit 1, at p. 1.

14.     Subsection “a” of Section 4 of the agreement, titled “Fees,” states that the parties agree to

negotiate in good faith a fee payable to the Consultant payable upon the consummation of a

Transaction in light of the Consideration Value” and subsection “b” of Section 4 states that “The

Transaction success fee shall be a condition to closing and shall be paid to the Consultant directly

from the lender or lenders involved in the Transaction.” Id. at p. 2-3.

15.     Section 5, titled “Termination” states that “The Company may not terminate the

Engagement (including, but not limited to, its obligation to pay monthly retainer fees) for a period

of six (6) months from the date of execution of this agreement, but may after such time, terminate

the Engagement with or without cause by giving at least 30 days’ advance written notice to

Consultant.” Id. at p. 3.

16.     Section 15 of the Agreement is an exclusivity provision that states “The Company

acknowledges that Consultant will serve in an exclusive capacity as the Company’s agent with

regard to the Transaction during the term of the Engagement. By agreeing to an “exclusive”

engagement, the Company agrees that it will not enter into any contract or commence

communication with another party with respect to any Transaction without the prior written

agreement of Consultant. The Company represents that it is not a party to any contractual

obligation [other than the purported agreement with Jenevein, Dezham, Still and Windemiller



                                                  4
        Case 2:17-cv-02122-JAR-GEB Document 1 Filed 02/26/17 Page 5 of 9




group] that would be in conflict with the terms of the Engagement. In addition, the Company

agrees that it will not use any work product of Consultant for the purposes of negotiations with

any other parties, except as agreed in writing by Consultant. The Company agrees that during the

term of the Engagement, all inquiries, whether direct or indirect, from prospective purchasers shall

be referred to Consultant.” Id. at p. 5.

17.     On or about February 7, 2017, Plaintiff was informed by Ron Vanderveen, Defendants’

general counsel, that TPG Special Situations Partners, LLC (hereinafter referred to as “TPG”) has

engaged with Defendants to refinance Defendants indebtedness.

18.     Defendants violated the exclusivity provision located in Section 15 of the Agreement by

not referring the inquiry made by TPG directly to Plaintiff, but rather chose to deal with TPG

themselves.

19.     On or about February 8, 2017, TPG drafted and sent Defendants a proposed term sheet, in

which they asked for an exclusivity provision, which is in direct violation of the Agreement

(attached hereto as “Exhibit 3”).

20.     On or about February 10, 2017, Defendants facilitated a meeting between TPG and CHS,

the company that currently owns Defendants’ debt, without obtaining explicit written approval

from Plaintiff as required by the Agreement.

21.     On or about February 13, 2017, Plaintiff spoke with a Managing Partner, Clint Kollar, who

confirmed to Plaintiff that Dennis Boersen signed the TPG proposal in direct violation of the

Agreement, although TPG was still determining whether or not they would execute the agreement.

22.     On or about February 14, 2017, Plaintiff was contacted by Mayor Berkowitz of Business

Capital LLC, one of Plaintiff’s potential financing partners associated with the Transaction, and

Mr. Berkowitz confirmed that BlueRock Solutions, a broker in New York, was attempting to



                                                 5
       Case 2:17-cv-02122-JAR-GEB Document 1 Filed 02/26/17 Page 6 of 9




broker the purchase of the debt from CHS in violation of the Agreement.

23.    On or about February 24, 2017, Plaintiff spoke with Mike Still, a member of the Marketers

as described in Paragraph 9 of this Complaint, and stated that Dennis Boersen contacted Mike Still

directly by telephone on or about February 23, 2017, and informed Mike Still that the Fifty Million

Dollar ($50,000,000) deal described in Paragraph 9 of this Complaint is back in effect and that

Boersen was is looking for both short term and long financing, in violation of the Agreement.

                                   V.    RELIEF REQUESTED

24.    Plaintiff is entitled to preliminary and permanent injunctions prohibiting Defendants’ from

procuring any financing without obtaining Plaintiff’s consent and otherwise acting contrary to the

terms of the Agreement.

25.    Deciding whether to grant a preliminary injunction requires the consideration of four

factors: (1) Plaintiff’s likelihood of success on the merits; (2) whether Plaintiff may suffer

irreparable harm absent the injunction; (3) whether granting the injunction will cause harm to

others; and (4) the impact of an injunction upon the public interest. No single factor is dispositive.

District courts are to balance the four factors and not consider them prerequisite to the issuance of

a preliminary injunction. Port City Properties v. Union Pacific R. Co., 518 F.3d 1186, 1189-90

(10th Cir. 2008).

26.    At the outset, Plaintiff is likely to prevail on the merits. The Parties have contractual

obligations that Plaintiff has clearly breached and continues to breach by willfully seeking

financing options while ignoring the material provisions of the Agreement. Defendants’ conduct

is in blatant and in direct violation of the Agreement.

27.    Additionally, Plaintiff will suffer irreparable harm that cannot be compensated by money

if Defendants are allowed to go forward with their plans and refinance their outstanding debt



                                                  6
       Case 2:17-cv-02122-JAR-GEB Document 1 Filed 02/26/17 Page 7 of 9




without Plaintiff’s involvement. First, Plaintiff has spent considerable time and effort amassing

the goodwill of large financiers, primarily concentrated in New York City, and has staked his

reputation with invaluable contacts by accepting the responsibility under this contract to provide

the consulting services to Defendants under the Agreement. Using his connections, Plaintiff has

received the correspondence of several financiers that are interested in pursuing a refinancing

transaction with Defendants.

28.    Further, if the deal conveyed to the financiers by Plaintiff were to be revoked, Plaintiff

would suffer irreparable harm to his reputation in the industry, which is required to engage in

similar business transactions in the future.

29.    Plaintiff will also be irreparably harmed monetarily. Defendants execution of the contract

outlined in Paragraph 9 of this Agreement with Marketers a little over a month to the date of

execution of the Agreement at issue proves that the fair market value of the service Plaintiff was

contracted to provide Defendants was at least fifty million dollars ($50,000,000). If Plaintiff is

precluded from enforcing his contractual rights to properly obtain a reasonable fee in connection

with a financing transaction Plaintiff will be forced to expend valuable resources litigating this

matter to recover a fee rightfully owed to him under the Agreement.

30.    There will not be substantial harm to Defendants or others during the time a preliminary

injunction is in effect. Plaintiff has, is and will continue to provide all the consulting services

prescribed to him under the Agreement, is still actively looking for buyers to refinance Defendants’

debt and Plaintiff has found interested parties ready to perform due diligence in order to help

Defendants refinance their debt. Plaintiff stands ready and willing to honor his obligations under

the Agreement.

31.    The proposed injunction does not prejudice the Defendants because Plaintiff is still



                                                 7
        Case 2:17-cv-02122-JAR-GEB Document 1 Filed 02/26/17 Page 8 of 9




fulfilling his duties under the terms of the Agreement.

32.     The only effects of granting a preliminary injunction in regard to public interests are

positive. The first effect is that status quo will be preserved and that both Plaintiff and Defendants

will be allowed to receive the benefits of their bargain under a mutually agreed-upon contract.

33.     Secondly, by allowing Plaintiff to conclude his services for Defendants under the

Agreement, Plaintiff will not have to enforce his rights by protracted litigation which will absorb

the valuable resources of the Court and the public.

34.     Thus, all the equities and other relevant factors weigh heavily in favor of granting the

requested preliminary injunction. Plaintiff will have everything to lose and will suffer great

prejudice if relief is not granted. To the contrary, Defendants will lose nothing and, quite possibly,

will receive a better deal if the injunction is granted.

35.     For the foregoing reasons, Plaintiff respectfully submits that no bond or security is

necessary for the preliminary injunction to issue and request that such requirement under Fed. R.

Civ. P. 65 (c) be waived.

        WHEREFORE, PREMISED CONSIDERED, Plaintiff prays that an emergency hearing be

held on his request for a preliminary injunction, that a preliminary injunction be issued prohibiting

Defendants from conducting any procurement of refinancing unless they do so as prescribed with

Plaintiff’s involvement, and only with Plaintiff’s express written permission, in a consulting role

under the Agreement, until such time as the Agreement is concluded under the termination

provision contained therein. Following the trial of this action, Plaintiff requests that this injunction

be made permanent. Plaintiff also requests such further relief as this Court deems just and

appropriate.




                                                   8
       Case 2:17-cv-02122-JAR-GEB Document 1 Filed 02/26/17 Page 9 of 9




Dated this 26th day of February, 2017.
                                               Respectfully submitted,
                                               /s/ Yevgeniy “Jason” Kotlyarov
                                               Y. JASON KOTLYAROV (#78529)
                                               Kotlyarov Law Group
                                               107 W. 9th Street, Suite 205
                                               Kansas City, Missouri 64105
                                               (913) 725-0735
                                               jason@gotlawyered.com

                                               Attorney for Plaintiff




                                         9
